Case 3:20-cr-00044-CAR-CHW Document 71-28 Filed 08/18/21 Page 1 of 12

United States of America

ay

Department of the Treasury
Internal Revenue Service

Date: July 28, 2021

CERTIFICATE OF OFFICIAL RECORD

| certify that the annexed: is a graphic print of the electronically filed Form 1044,
U.S. Income Tax Return for Estates and Trusts, captioned Marshana El

Investment Trust, Business Entity Number XX-XXXXXXX, for the tax year 2016,
consisting of eleven (11) pages

under the custody of this office.

IN WITNESS WHEREOF, | have hereunto set my
hand, and caused the seal of this office to be affixed,
on the day and year first above written.

By the direction of the Secretary of the Treasury:

VAs eo »
ENO Be ak ak \
Ly

Jay Elton
Supervisory Investigative Analyst

Internal Revenue Service-Criminal Investigation
Delegation Order 11-5

GOVERNMENT
EXHIBIT

3-Ulo

Catalog Number 19002E

“U.S. GPO: 1997-417-690161741 Form 2866 (Rev. 09-97)
RAM 07/28/2021

USAO-029356
Case 3:20-cr-00044-CAR-CHW Document 71-28 Filed 08/18/21 Page 2 of 12

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DLN: 88236017013048}

Depariment of the Treasury—Internal Revenue Service

1 041 U.S. Income Tax Return for Estates and Trusts

# Information about Form 1041 and its separate instructions is at www.irs.gov/form1041.

Form

| 2046 sus si

A Check all that apply:

For calendar year 2016 or fiscal year beginning 01-01-2016, andending 12-31-2016

C1 pecedent's Estate
MARSHANA EL INVESTMENT TRUST gj

Name of estate or trust (If a grantor type trust, see the instructions.)

C Employer identification number
XX-XXXXXXX

O Simple trust ;
Name and title of fiduciary

Marquet Burgess Mattox El
Trustee

Complex trust
L Qualified disability trust

D Date entity created
11-14-2017

LJ eset (S portion only)
Oo Grantor type trust

2625 Piedmont Road Northeast Ste St

Number, street, and room or suite no. (If a P.O. box, see the instructions.)

E Nonexempt charitable and split-
interest trusts, check applicable
box(es), see instructions.

1 pescribed in sec. 4947(a)(1). Check here

O Bankruptcy estate-Ch. 7 City or town, state or province, country, and ZIP or foreign postal code
O Bankruptcy estate-Ch. 11 Atlanta, GA 30324 ifnot a private foundation -& Li
PT edie incemetfard T] Described in sec. 4947(a)(2)
B Number of Schedules K-1 F epoca e Iv Initial retum C Final relum O Amended retum Superseded Return oO Net operating loss carryback
Se or csid boxes: Oo Change in trust's name O Change in fiduciary O Change in fiduciary’s name C4 Change in fiduciary's address
G Check here if the estate or filing trust made a section 645 election . . = e CJ trust TIN &
1 Interestincome -. + = = a i _ a 8 1 5,000,000
2a Totalordinary dividends . . - s+ « # 2 =» =e F & é at 2a
b Qualified dividends allocable to: (1) Beneficiaries = lee (2) Estate ortrust 9 ee
& 3. Business income or (loss). Attach Schedule C or C-EZ (Form 1040) x 3
O| 4 Capital gain or (loss). Attach Schedule D (Form 1041) fe : 4
2 5 Rents, royalties, partnerships, other estates and trusts, etc. Attach Schedule E (Form 1040) . 5
6 Farm income or (loss). Attach Schedule F (Form 1040) oe o« ® ¢ i . 6
7 Ordinary gain or (loss). Attach Form 4797 oe eo 8 8 ell ono. z
8 Other income. List type and amount 8
9 Total income. Combine lines 1, 2a, and 3 through 3 ") ee ; af 9 5,000,000
410 Interest. Check if Form 4952 is attached, [] i.e 2s we 8 & & SS . oo. » +» | 10
42 Taxes 8 ees ‘ 11
@ 12 Fiduciary fees ‘ % eee ee ee a2
61|413 Charitable deduction (from Schedule A, line 7) «on @ § @ «© B # 13
s 14 Attorney, accountant, and return preparer fees . -_ ¢ * « & & a ‘ 14
g 45a Other deductions not subject to the 2% floor (attach schedule) 2 . | 15a
3 b Net operating loss deduction. See Instructions soe ee et . |15b
Oo c Allowable miscellaneous itemized deductions subject to the 2% floor - #8 & » « | 15e
16 Add lines 10 through 15c 2 # “ # ow # @ # 8 . . « & | 16
17 Adjusted total income or (loss). Subtract line 16 from line 9 F | 17 | 5,000,000
48 Income distribution deduction (from Schedule B, line 15). Attach Shela K-1 (Form 1041) 18 0
49 Estate tax deduction including certain generation-skipping taxes (attach computation) é 19
20 Exemption soe ee ee . * # e 2 = 8 20 100
21 Addlinesi8through20 - - - © ee ee et ttt a 6 2. 2 & | 2d 100

USAO-029357
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22 Taxable income. Subtract line 21 from line 17. If a loss, see instructions < 22 4,999,900
23 Total tax (from Schedule G, line 7) s ® 8 wo 23 2,167,781
| 24 Payments: a 2016 estimated tax payments and amount applied from 2015 return a * 24a
c b Estimated tax payments allocated to beneficiaries (from Form 1041-T) 24b
& c Subtractline 24b fromline 24a 2 2 6 ee eee 24c
7 d Tax paid with Form 7004. See instructions ~ &% mm &§ B 24d ‘
ou e Federal income tax withheld. If any is from Form(s) 1099, check » wi] soe eee . | 24e 4,200,000
gz Other payments: f Form 2439 9 eee ;gForm 4136 ee ; Total ® | 24h
|25 Total payments. Add lines 24c through 24e, and 24h eee we ee we ee | 28 4,200,000
x 26 Estimated tax penalty. See instructions _ e . & & e ee eo em» 26
rE 27 Tax due. If line 25 is smaller than the total of lines 23 and 26, enter amount owed 2 27
28 Overpayment. If line 25 is larger than the total of lines 23 and 26, enter amount overpaid soe 28 2,032,219
29 Amount of line 28 to be: a Credited to 2017 estimated tax® ; b Refunded > 29 2,032,219
Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to-the best of my knowledge and
. belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has an knowledge.
Sign May the IRS discuss this return with
He re b > ae shown below (see
Signature of fiduciary-or officer representing fiduciary * Date EIN of fiduciary if a financial institution |
Print/Type preparer's name Preparer's signature Date ehaas oO f PTIN
Paid self-employed
Preparer Firm's name : i Firm's EIN
Use Only Firm's address f Phone no.
Cat. No. 11370H Form 1041 (2016)

For Paperwork Reduction Act Notice, see the separate instructions.

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Form 1041 (2016) Page 2
Schedule A Charitable Deduction. Don't complete for a simple trust or a pooled income fund.
i Amounts paid or permanently set aside for charitable purposes from gross Income. See instructions . 1
2 Tax-exempt income allocable to charitable contributions. See instructions is « #@ # & 2
3 Subtract line 2 from line 1 . © + #8 8 we @ we © w M F we we m 8 & 3
4 Capital gains for the tax year allocated to corpus and paid or permanently set aside for charitable purposes 4
5 Addlines3and4 «© © 6 8 8 8 8 8 eee 5
6 Section 1202 exclusion allocable to capital gains paid or permanently set aside for charitable purposes. See instructions 6
7 Charitable deduction. Subtract line 6 from line 5. Enter here and on page 1, line 13 ; % * x
Schedule B Income Distribution Deduction
1 Adjusted total income. See instructions soe om &® ow Ft Be MR eo we me ws ‘ 1 5,000,000
2 Adjusted tax-exempt interest Coe ee ke Re 2
3 Total net gain from Schedule D (Form 1041), line 19, column (1). See instructions 2g ¢ @ SS 8 3
4 Enter amount from Schedule A, line 4 (minus any allocable section 1202 exclusion) +». *« +» © + = * 4
5 Capital gains for the tax year included on Schedule A, line 1. See Instructions « + # * & S 5
6 Enter any gain from page 1, line 4, as anegalive number. If page 1, line 4, is a loss, enter the loss as a posilive number . 6
7 Distributable net income. Combine lines 1 through 6. If zero or less, enter -0- soe eee 7 5,000,000
8 Ifa complex trust, enter accounting income for the tax year as
determined under the governing instrument and applicable local law | 8 | 5,000,000)
9 Income required to be distributed currently oe ee em ie e &® 9
40 Other amounts paid, credited, or otherwise required to be distributed ete © we ee ef 10
41 Total distributions. Add lines 9 and 10. If greater than line 8, see instructions il
42 Enter the amount of tax-exempt income included on line 11 oo 12
13 Tentative income distribution deduction. Subtract line 12 from line 11 soe £§ = ss & w ® 13
414 Tentative income distribution deduction. Subtract line 2 from line 7. If zero or less, enter -0- cw & 14 5,000,000
15 Income distribution deduction. Enter the smaller of line 13 or line 14 here and on page 1, line 18 15 0
Schedule G Tax Computation (see instructions)
4. Taxta Tax on taxable income. See instructions oe F 8 ww 1a 1,978,256
b Tax on lump-sum distributions. Attach Form 4972 . . «| ib
c. Alternative minimum tax (from Schedule I (Form 1041), line 56) ic
d_ Total. Add lines 1a through ic we eee . m | 1d 1,978,256
2a Foreign tax credit. Attach Form 1116 4 © © « &» # & & 2a
b General business credit. Attach Form 3800 ~ « # ® « @ 2b
c Credit for prior year minimum tax. Attach Form 8801 = te 2c
d Bond credits. Attach Form 8912 <2. 2 * & * 2 ee @ 2d
e Total credits. Add lines 2a through 2d Cee ee es b | 2e
3 , Subtract line 2e from line 1d. If zero or less, enter -0- Cee 3 1,978,256
4 Net Investment income tax from Form 8960, line 21 w) ce 4 189,525
5 Recapture taxes. Check if from: C1 Form 4255 [1] Form 8611 : soe es 5
6 Household employment taxes. Attach Schedule H (Form 1040) . oe eo 8 wo we ‘ 6
7 Total tax. Add lines 3 through 6. Enter here and on page 1, line 23 ._» @ £ es w ® i 7 2,167,781
_ Other Information Yes | No
1 Did the estate or trust receive tax-exempt income? If “Yes,” attach a computation of the allocation of expenses. C {]
Enter the amount of tax-exempt interest income and exempt-interest dividends 56 ies anmemaenkewEeee OE
2. Did the estate or trust receive all or any part of the earnings (salary, wages, and other compensation) of any
individual by reason of a contract assignment or similar arrangement? ._ +s * © © & & & w & we ® L] fv]
3. Atany time during calendar year 2016, did the estate or trust have an interest In or a signature or other authority :
over a bank, securities, or other financial account in a foreign country? eb we oe 8 oe 8 me OH em ol fv].
See the instructions for exceptions and filing requirements for FinCEN Form 114. If “Yes,” enter the name of the
foreign country Pr ___nn enn n eee re ne enn een ee te nnn me ree tne nnn nora meena
4 During the tax year, did the estate or trust receive a distribution from, or was it the grantor of, or transferor to, a
foreign trust? If “Yes,” the estate or trust may have to file Form 3520. See instructions 7 oe - = # & € ®t
5 Did the estate or trust receive, or pay, any qualified residence interest on seller-provided financing? If “Yes,” see
the instructions for required attachment i.e & = + K = & =» S & & © & £ or & & » w & Cho} @
6 If this is an estate or a complex trust making the section 663(b) election, check here. See instructions oF
7 To make a section 643(e)(3) election, attach Schedule D (Form 1041), and check here. See instructions _ J
8  {fthe decedent's estate has been open for more than 2 years, attach an explanation for the delay in closing the estate, and check here [|
9 Are any present or future trust beneficiaties skip persons? See instructions i owe ee es Om Cl {|
10 Was the trust a specified domestic entity required to file Form 8938 for the tax year (see the Instructions for Form 8938)? []

Form 1041 (2016)

USAO-029359
Case 3:20-cr-00044-CAR-CHW Document 71-28 Filed 08/18/21

Additional Data

Software ID:
Software Version:
EIN:

Name:

Header - Business Name Control:

16000212
tai6émefv1i.0
XX-XXXXXXX

Page 5 of 12

MARSHANA EL INVESTMENT TRUST

MARS

USAO-029360
Case 3:20-cr-00044-CAR-CHW Document 71-28 Filed 08/18/21 Page 6 of 12

DLN: 88236017013048 }

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8960 Net Investment Income Tax— OMe: Woe, eZee?
Fi s . oo
orm Individuals, Estates, and Trusts 201 6

: J Attach to your tax return. Atteclinient
Deparimentof the Treasury |» Information about Form 8960 and its separate instructions is at www.irs.gov/form&960. SCHMENE
Internal Revenue Service (99) . Sequence No, 72

Name(s) shown on your tax return Your social security number or EIN

MARSHANA EL INVESTMENT TRUST

XX-XXXXXXX
Part I Investment Income LJ Section 6013(g) election (see instructions)
C1 section 6013(h) election (see instructions)
O Regulations section 1.1411-10(g) election (see instructions)
1 Taxable interest (see instructions) é-w «ws #@ © = &® ® & 1 5,000,000
2 Ordinary dividends (see instructions) ~ * «© # +  H & B Se wm we e 8 oF F 2
3. Annuities (see instructions) a. os es ¢ € # 8 ee we 3
4a Rental real estate, royalties, partnerships, 5 corporations, trusts, etc.
(see Instructions) oe ow oe 8 8 8 el Ue 4a
b Adjustment for net income or loss derived in the ordinary course of a non-
section 1411 trade or business (see instructions) - - +» + + * 4b
c Combinelines4aand4b. 2 © = © 8 © e 8 8 HB BR ee . « 4c
5a Net gain or loss from disposition of property (See Instructions) © * ° 5a
b Net gairor loss from disposition of property that Is not subject to net
investment income tax (see instructions) »- «+ +» «© © * # & 5b
c Adjustment from disposition of partnership interest or S corporation stock
(see instructions) . 8 e 8 # 8 < « « mm & *® 5c 0
d Combinelines5athrough 5c. «© % © © © © 8 = 8 8 8 # i 5d
6 Adjustments to Investment income for certain CFCs and PFICs (see Instructions) oe 6 8 # 6
7 Other modifications to investment Income (see instructions) «+ © © © © © 8 8 3 7
8 Total investment income. Combine lines 1, 2, 3, 4c,5d,6,and7 » + +» *© = 5 + + 8 5,000,000
Partll Investment Expenses Allocable to Investment Income and Modifications
9a Investment interest expenses (see Instructions) . « 8 & Sa
b State, local, and foreign income tax (see instructions) - « + + + 9b
c Miscellaneous investment expenses (see Instructions) “ o- «© = 9c
d Addlines9a,9b,and9c - ee ee eH 9d
40 Additional modifications (see Instructions) eee . 10
41 Total deductions and modifications. Add lines QdandiO . . +» «= * »* #8 11
Part Ii Tax Computation
42 Net investment income. Subtract Part II, line 11 from Part I, line 8. Individuals complete lines 13-17.
Estates and trusts complete lines 18a—21. If zero or less, enter -0- ~ * © 8 & # ew & 12 5,000,000
Individuals:
13 Modified adjusted gross income (see instructions) . -« « = 13
14 Threshold based on filing status (see instructions) 3 & ¢ 14
15 Subtract line 14 from line 13. If zero or less, enter-O- » «+ + + = 15
46 Enterthesmalleroflinei2orlinei5. 6 © 8 8 8 8 re ee 16
17 Net investment income tax for Individuals. Multiply line 16 by 3.8% (.038).
Enter here and include on your tax return (see instructions) »« «+ «© © = * © * 17
Estates and Trusts:
18a Net investment income (line 12 above) - *« 8 #8 © 8 8 18a 5,000,000
b Deductions for distributions of net investment income and deductions
under section 642(c) (see instructions) « «© & «@ & & * 18b
c Undistributed net investment income. Subtract line 18b from 18a
(see instructions). If zero or less,enter-O-. «+ © © 8 © © 8 18c 5,000,000
19a Adjusted gross income (see instructions) . « © © * © = * 19a 4,999,900
b Highest tax bracket for estates and trusts for the year (see instructions) 19b 12,400
c Subtract line 19b from line 19a. If zero or less, enter-O- . « « 19c 4,987,500
20 Enterthesmalleroflinei8corline19c «2 © © 8 8 s ef et _ 2 20 | . 4,987,500
21 Net investment income tax for estates and trusts. Multiply line 20 by 3.8% (.038). :
Enter here and include on your tax return (see instructions) «+ + + + =» + + + + 21 i 189,525
Cat. No. 59474M Form 8960 (2016)

For Paperwork Reduction Act Notice, see your tax return instructions.

USAO-029361
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Additional Data

Software ID: 16000212
Software Version: tai6mefv1.0
EIN: XX-XXXXXXX
Name: MARSHANA EL INVESTMENT TRUST

USAO-029362
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TY 2016 Other Withholding
Statement

Name: MARSHANA EL INVESTMENT TRUST
EIN: XX-XXXXXXX
Software ID: 16000212
Software Version: tal6mefvi.0

aE “ 333

Withholding Code Withholding Amount

FORM 1099 . 4,200,000 j

USAO-029363
Case 3:20-cr-00044-CAR-CHW Document 71-28 Filed 08/18/21 Page 9 of 12

DLN: 88566017859168 |

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Schedule K-1
(Form 1041)

2016

661114

C1 Final K-1 Cl) amended K-1 OMB No. 1545-0092

Beneficiary’s Share of Current Year Income,

Part TIt a
Deductions, Credits, and Other Items

Department of the Treasury 1 : Interest income L1 ; Final year deductions
Internal Revenue Service For calendar year 2016, 0
or tax year beginning _ 01-01-2016 _,
and ending __12-31-2016 _ 2a ; Ordinary dividends 1 crcssasmacesantdetSet Race
0
a . i lified dividend
Beneficiary’s Share of Income, Deductions, =a ee sate
Credits, etc. b See back of form and instructions. y
2 3 : Net short-term capital gain
0
Part 1 Information. About the Estate or Trust 4a : Net long-term capital gain sexes ease eeineroeeatbeSy Smee SaaS RORERESOR
A Estate's or trust's employer identification number 0
XX-XXXXXXX Ab : 28% rate gain
0 12 ‘Alternative minimum tax adjustment
B Estate's or trust's name Ac : Unrecaptured section 1250 gain
MARSHANA EL INVESTMENT TRUST 0 seertrerrrssnctectncmicssesaisenes cea
5 : Other portfolio and
: nonbusiness income
i 0
C  Fiduciary's name, address, city, state, and ZIP code 6 ; Ordinary business income sot taedbenne s sennane samme nrnes cntees saane caters
2625 Piedmont Road Northeast Ste St 0
Atlanta, GA 30324 7 | Net rental real estate income seceteecereemsesen se neee
0
8 : Other rental income : :
‘ 13 : Credits and credit recapture
0
9: Directly apportioned deductions
D 4 Check if Form 1041-T was filed and enter the date it was filed
ee 14 ; Other Information
EL] Check if this is the final Form 10441 for the estate or trust
10 ; Estate tax deduction
0
Part {1 Information Aboutthe Beneficiary 4242 222 ff
F  Beneficiary's identifying number
XX-XXXXXXX .
G Beneficiary’s name, address, city, state, and ZIP code
MARQUET BURGESS MATTOX =e . - -
2625 Piedmont Road NE
Ste 56-507

Atlanta, GA 30324

*See attached statement for additional information.

Note. A statement must be attached showing the
beneficiary's share of income and directly apportioned
deductions from each business, rental real estate, and
other rental activity.

H C1 Domestic beneficiary Foreign beneficiary

For IRS Use Only

Cat. No. 11380D Schedule K-1 (Form 1041) 2016

For Paperwork Reduction Act Notice, see the Instructions for Form 1041.

IRS.gov/form1041

USAO-029364

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Additional Data oo

Software ID:

Software Version:
, EIN:
Name:

16000212

tal6mefv1.0

XX-XXXXXXX

MARSHANA EL INVESTMENT TRUST

USAO-029365 ~
Case 3:20-cr-00044-CAR-CHW Document 71-28 Filed 08/18/21 Page 11 of 12

IRS Received Date

Filer EIN

Filer Name

__Recelved Datel2018-01-47

"Return Processable Date!

XX-XXXXXXX
MARSHANA EL INVESTMENT TRUST

Fiduciary Title Trustee

Name Control
Filer U.S. Address

DLN

Return Type
Filing Type
Tax Period

itional Return Summary Data". e
Time Stamp
Tax Period Begin Date

Tax Period End Date

_ Software ID

Software Version
Multiple Software Packages Used?
, Signature Option
Tax Year

Binary Attachment Count

IP Address

IP Date

IP Time

IP Timezone

Device ID

Device ID

|

Schedule K-1 (1043) (986085553)

Other Withholding Statement

=

8453 Signature Document

201612

MARS .

2625 Piedmont Road Northeast Ste St
Atlanta, GA 30324

88236017013048
1041

2018-01-17T16:39:00-06:00
2016-01-01

2016-12-31

16000212

tai6mefvi.0

No

BINARY ATTACHMENT 8453 SIGNATURE DOCUMENT
2016.

1

73.137,128.77

2018-01-17

16:39:00.

cs
061AA41E61BBA8DEF104D69E28D8B3204EF549DF
061AA41.E61 BBAS8DEF104D69E28D8B3204EF549DF

USAO-029366
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- U.S. Estate or Trust Declaration OMB No. 1545-0967
rom 8453-FE for an IRS e-file Return

For calendar year 2016, or fiscal year beginning _________ , and ending ——________ 2 0 1 6

Department of the Treasury > File electronically with the estate's or trust's return. Do not file paper copies.

Internal Revenue Service P Information about Form 8453-FE and its instructions is at www.irs.gov/form8453fe,
Name of estate or trust Employer identification number

MARSHANA EL INVESTMENT TRUST XX-XXXXXXX

Name and title of fiduciary

Marquet Burgess Mattox El , Trustee

Tau Tax Return Information
4 Total income (Form 1041, lineQ). ‘4 5,000,000.
2 Income distribution deduction (Form 1041, line 18)... ......----2.-.225-5 2205S 2 |. QO.
3 Taxable income (Form 1041, line22)... 0... 2. ee 3 4,999,900.
4 Total tax (Form 1041, line 23)... 2 ee LEE SEs 4 2,167,781.
5 Tax due or overpayment (Form 1041, line 27 or 28),............-+- +--+ ee 5 2,032,219.

Fain Declaration of Fiduciary

6 [| | authorize the U.S. Treasury and its designated Financial Agent to initiate an ACH electronic funds withdrawal (direct debit) entry to the financial institution
account indicated in the tax preparation software for payment of the estate's or trust's taxes owed on this return, and the financial institution to debit the entry to
this account. To revoke a payment, | must contact the U.S. Treasury Financial Agent at 1-888-353-4537 no later than 2 business days prior to the payment
(settlement) date. | also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information

necessary to answer inquiries and resolve issues related to the payment.

Under penalties of perjury, | declare that the above amounts (or the amounts on the altached listing) agree with the amounts shown on the corresponding lines of the
electronic portion of the 2016 U.S. Income Tax Return(s) for Estates and Trusts. | have also examined a copy of the return(s) being filed electronically with the IRS, and all
accompanying schedules and statements. To the best of my knowledge and belief, they are true, correct, and complete. If !am not the transmitter, { consent that the return(s),
including this declaration and accompanying schedules and statements, be sent fo the IRS by the return transmitter. | also consent to the IRS's sending the ERO and/or
transmitter an acknowledgement of receipt of transmission and an indication of whether or not the return(s) is accepted, and, if rejected, the reason(s) for the rejection.

Sign p- Bu: Burgos Mattox tl, Marquet p —17th, January 2018

Here SigHature of fiduciary or officer representing fiduciary Date

[Tay Declaration of Electronic Return Originator (ERO) and Paid Preparer (see instructions)

I declare thal | have reviewed the above estate or trust return(s) and thai the entries on Form 8453-FE are complete and correct to the best of my knowledge. If | am only a
collector, ! am not responsible for reviewing the retum(s), and only declare that this form accurately reflects the data on the return(s). The fiduciary or an officer representing
ihe fiduciary will have signed this form before | submit the return(s). | will give the fiduciary or officer representing the fiduciary a copy of all forms and information to be filed
with the IRS, and have followed all other requirements described in Pub. 4164, Modernized e-File (MeF) Guide for Software Developers and Transmitters. If | am also the Paid
Preparer, under penalties of perjury | declare that I have examined the above estate or trust return(s) and accompanying schedules and statements, and to the best of my
knowledge and belief, they are true, correct, and complete. Declaration of preparer is based on all information of which the preparer has any knowledge.

ERO’ Date Check if Check if ERO's SSN or PTIN
Ss also paid - self-
ERO's signature D> preparer ® [~] [employed >[ |
Use Firm's name (or yours , EIND
Onl if self-employed), >
y address, and ZIP code “ Phone no.

Under penallies of perjury, | declare that I have examined the above estate or trust return(s) and accompanying schedules and statements, and to the best of my knowledge
and belief, they are true, correct, and complete. Declaration of preparer is based on all information of which the preparer has any knowledge.

Paid Print/Type preparer's name Preparer's signature Date cheek L_] ir |PTIN
self-employed
Preparer os
2 Firm's EIN >

Use Only Firm'sname >

Firm's address > Phone no.

Form 8453-FE (2016)

For Privacy Act and Paperwork Reduction Act Notice, see instructions.
UYA

USAO-029367
